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15                                  UNITED STATES DISTRICT COURT
16                                      DISTRICT OF NEVADA
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18   GOLDEN BOY PROMOTIONS, LLC, a                  CASE NO. 2:23-cv-00942-APG-VCF
     Delaware limited liability company,
19                                                  [PROPOSED] ORDER GRANTING
                       Plaintiff,                   DEFENDANT RYAN GARCIA’S
20                                                  MOTION TO DISMISS PLAINTIFF’S
            vs.                                     COMPLAINT
21
     RYAN GARCIA. an individual, GUADALUPE          Judge: The Hon. Andrew P. Gordon
22   VALENCIA, an individual, and DOES 1            Date Action Filed: June 16, 2023
     through 25, inclusive,
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                       Defendants.
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                                                              [PROPOSED] ORDER GRANTING
     CASE NO. 2:23-CV-00942-APG-VCF                    DEFENDANT RYAN GARCIA’S MOTION TO
                                                             DISMISS PLAINTIFF’S COMPLAINT
     Case 2:23-cv-00942-APG-VCF Document 22-6 Filed 08/21/23 Page 2 of 2



 1          After consideration of the pleadings, briefs, as well as all other matters presented to the
 2   Court, and good cause having been shown, the Court rules as follows:
 3          Motion to Dismiss Plaintiff’s Complaint is GRANTED and Plaintiffs’ Complaint is
 4   dismissed with prejudice as to Defendant Ryan Garcia, pursuant to Rules 12(b)(1), 12(b)(6), and
 5   12(h)(3) of the Federal Rules of Civil Procedure.
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 7   IT IS SO ORDERED
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     Dated: _______________                        By:
 9                                                 THE HONORABLE ANDREW W. GORDON
10                                                 UNITED STATES DISTRICT COURT JUDGE

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                                                                      [PROPOSED] ORDER GRANTING
     CASE NO. 2:23-CV-00942-APG-VCF                  -1-       DEFENDANT RYAN GARCIA’S MOTION TO
                                                                     DISMISS PLAINTIFF’S COMPLAINT
